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                      IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

DIAMOND BAR CATTLE COMPANY
and LANEY CATTLE COMPANY

              Plaintiffs,

              vs.                                         CIVIL NO. 96-437 WJ/LCS


UNITED STATES OF AMERICA;
ANN VENEMAN, Secretary of
the United States Department of
Agriculture; and U.S.D.A.
Forest Service,

              Defendants.

  SATISFACTION OF DAMAGES AWARDED IN PARTIAL JUDGMENT [DOCKET
          NO. 111] AND CONSENT JUDGMENT [DOCKET NO. 141]

              The United States of America, by and through the undersigned, acknowledges

satisfaction of the damages awarded to the United States the Partial Judgment [Docket No. 111]

filed in this cause on February 11, 2004, and in the Consent Judgment [Docket No. 141] filed in

this cause on August 10, 2005.

                                                   Respectfully submitted,

                                                   DAVID C. IGLESIAS
                                                   United States Attorney


                                                   ____________________________
                                                   HOWARD R. THOMAS
                                                   Assistant U. S. Attorney
                                                   P.O. Box 607
                                                   Albuquerque, NM 87102
                                                   (505) 346-7274
                               Case 1:96-cv-00437-WJ-LCS Document 142 Filed 08/26/05 Page 2 of 2



I HEREBY CERTIFY that on August 26, 2005, a true and correct copy of the foregoing was
mailed to Kit Laney and Sherry Farr at HC-30, Box 470, Winston, NM 87943, to Paul M.
Kienzle III, Esq., P.O. Box 587, Albuquerque, NM 87103-0587, to David Plotsky, Esq., 122
Girard Ave., S.E., Albuquerque, NM 87106, and to Thomas D. Lustig, Esq., National Wildlife
Federation, Suite 100, 2260 Baseline Road, Boulder, CO 80302.
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